      Case 3:22-cv-00049-NKM-JCH Document 160 Filed 02/09/23 Page 1 of 1 Pageid#: 1450
AO435                      ADMINISTRATIVEOFFICEOFTHEUNITEDSTATESCOURTS                  FORCOURTUSEONLY
(Rev.04/18;WDVARev.ͳͳ/19)
                                                                                                       DUEDATE:
                                             TRANSCRIPTORDERFORM
PleaseReadInstructionsonPage2.
1. REQUESTOR’S                 NAME                                                  TELEPHONENUMBER
   INFORMATION:
                                     Maya Eckstein                                     (804) 788-8788
DATEOFREQUEST                    EMAILADDRESS(Transcriptwillbeemailedtothisaddress.)
 02/09/2023                          meckstein@huntonAK.com; mhaydenwinston@huntonAK.com
MAILINGADDRESS                                                                      CITY,STATE,ZIPCODE
951 E. Byrd Street                                                                     Richmond, VA 23219
2. TRANSCRIPT                       NAMEOFCOURTREPORTER
                                                                  Lisa Blair
   REQUESTED:

                                    ORCHECKHERE     IFHEARINGWASRECORDEDBYFTR

CASENUMBER                        CASENAME                                        JUDGE’SNAME
3:22cv00049                          Baby Doe, et al. v. Joshua Mast, et al.          Norman Moon
DATE(S)OF                         TYPEOFPROCEEDING(S)                            LOCATIONOFPROCEEDING
PROCEEDING(S)

02/08/2023                         Hearing                                            Zoom Video Conference
REQUESTISFOR:(Selectone)     ✔   FULLPROCEEDING      OR       SPECIFICPORTION(S)(Mustspecifybelow)

SPECIFICPORTION(S)REQUESTED(Ifapplicable):



3. SERVICETURNAROUNDCATEGORYREQUESTED:
   (SeePage2fordescriptionsofeachserviceturnaroundcategory.)
   Ordinary(30ǦDay)                                          Daily

 ✔14ǦDay                                                         Hourly

   Expedited(7ǦDay)                                             RealTime

   3ǦDay

4. CERTIFICATION:Bysigningbelow,IcertifythatIwillpayallcharges(depositplusadditional).
DATE                         SIGNATURE
02/09/2023                          /s/ Maya M. Eckstein


          Ifyouhaveanyquestions,pleasecontactthecourtreportercoordinatorat(540)857Ǧ5152
          orbyemailtoCRC@vawd.uscourts.gov.

          TranscriptFeeRatescanbefoundonourwebsiteunderStandingOrdersat:
          http://www.vawd.uscourts.gov/media/1576/transcripts.pdf

          NOTE:FormmustbeflattenedpriortoelectronicallyfilinginCM/ECFsothatallfillablefieldscan
          nolongerbemodified.
